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                       Exhibit A
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


     TEXAS BLOCKCHAIN COUNCIL,                        )
     a nonprofit association;                         )
     RIOT PLATFORMS, INC.,                            )
                                                      )
                    Plaintiffs                        )
                                                      )   Case No. 6:24-cv-99
     v.                                               )
                                                      )
     DEPARTMENT OF ENERGY;                            )
     JENNIFER M. GRANHOLM, in her                     )
     official capacity as Secretary of Energy;        )
     ENERGY INFORMATION                               )
     ADMINISTRATION; JOSEPH                           )
     DECAROLIS, in his official capacity as           )
     Administrator of Energy Information              )
     Administration; OFFICE OF                        )
     MANAGEMENT AND BUDGET;                           )
     SHALANDA YOUNG, in her official                  )
     capacity as Director of Office of                )
     Management and Budget,                           )
                                                      )
                          Defendants.                 )


                         VERIFIED AFFIDAVIT OF DR. CYRUS REED


I, Cyrus Reed, make the following declaration based upon my personal knowledge and expertise.

I declare under penalty of perjury that the following is true and correct.

I.        My Background and Experience Engaging With ERCOT

          1.     My name is Cyrus Reed. I am a resident of Austin, Texas. I have a Ph. D. in

geography from the University of Texas at Austin.



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       2.      For more than 16 years, I have worked for the Sierra Club, specifically for the

Lone Star Chapter, which is the Texas chapter of the Sierra Club. While I have held several

positions, my current position is Legislative and Conservation Director of the Lone Star Chapter.

       3.      As part of my work responsibilities, I am the main point of contact for the Sierra

Club at the Texas legislature, Public Utility Commission of Texas (PUCT), the State Energy

Conservation Office (SECO) and Electric Reliability Council of Texas (ERCOT).

       4.      In my role at Sierra Club, I regularly analyze potential threats to reliability and

affordability for the electric grid. In recent years, the chapter has advocated for the important role

that demand response and energy efficiency can play in supporting a reliable grid. Thus, I

regularly attend the Demand Side Working Group at ERCOT, the Energy Efficiency

Implementation Project meetings at the PUCT, frequently meet with private and public utilities

about their load management and energy efficiency programs and was even responsible in 2022

for crafting a rulemaking petition designed to increase residential and commercial energy

efficiency and demand response programs at the PUCT and ERCOT.

       5.      For roughly 10 years, I have regularly attended ERCOT meetings; analyzed

ERCOT reports, including those related to ancillary services; participated in the Demand Side

Working Group; considered reports related to demand response; participated in utility energy

efficiency cost recovery fee proceedings; and worked with legislative offices on proposals to

expand energy efficiency and demand response programs. For example, we supported a protocol

revision request that allowed more responsive reserves to be supplied through demand response

programs, and also advocated for the expansion of emergency reserve services that are open to

weather-sensitive (mainly residential) demand response. Both proposals were adopted through

the ERCOT process and approved by the PUCT.



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       6.      ERCOT is the independent system operator for much of Texas or, in other words,

the independent entity that operates much of the state’s electric grid. It provides a competitive

market for electricity. The Sierra Club is an official voting member of ERCOT, and I have

served as a representative of the Sierra Club at ERCOT for over seven years. Specifically, I serve

on the Reliability and Operations Subcommittee as the representative for small commercial

electricity consumers.

       7.      As a representative for small commercial electricity consumers, I am aware

especially of the need to balance the reliability of the grid with the costs to consumers, and also

work to assure that all technologies, including demand response, distributed generation, batteries,

renewable resources and fossil-fuel generation can compete to provide reliability and ancillary

services.

       8.      I have voting privileges as well on the Protocol Revision Subcommittee. The

Protocol Revision Subcommittee (PRS), which is accountable to the Technical Advisory

Committee (TAC), is responsible for reviewing and recommending action on formally submitted

Nodal Protocol Revision Requests (NPRRs) and System Change Requests (SCRs).

II.    ERCOT Market Structure

       9.      In ERCOT, the wholesale cost of electricity is determined through an approved

competitive bid process and is not under the direct control of the PUCT.Under the wholesale bid

process, electricity market prices fluctuate as a function of both commodity prices (i.e. gas and

coal prices) and demand. The cheapest generators that bid into the market are brought online

first, followed by increasingly expensive to operate generators. In economic terms, the sequence

of which generators are brought online describes a supply curve, from the least expensive to the

most expensive marginal supply options. The demand at any given moment intersects that supply



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curve at the settlement price, or the wholesale cost of electricity. When demand is lower, the

wholesale cost of electricity is lower. When demand increases, the cost of energy increases. As

additional customers demand service, the wholesale price of electricity, and the cost of serving

all customers, rises. This is, in effect, the outcome of pushing up higher (or to the right) on the

supply curve. Cryptocurrency mining operations are a substantial new demand, and therefore

create higher wholesale costs.

        10.     The wholesale cost of electricity impacts consumers, including residential

consumers. Most residential consumers are on a fixed price contract, meaning they pay a certain

amount per kilowatt. While this fixed price structure protects them initially from scarcity pricing

events, even those on a fixed price contract will eventually pay for increased electricity costs.

This is true because retail electric providers, municipally-owned utilities and electric

cooperatives are likely to raise rates or increase the price of contracts in the future, or because the

existing contract includes “extra” fees or costs. As an example, for Austin Energy customers in

the Austin area, bills include a Power Supply Adjustment (PSA). This additional fee is a dollar-

for-dollar recovery that includes the cost of fuel for Austin Energy’s power plants, the cost of

electricity purchased from the grid, and any net change experienced as Austin Energy sells

power to the grid.1

        11.     Electricity prices in ERCOT are particularly vulnerable to volatility because

roughly half of all electricity in ERCOT is provided by gas. As a result, the price of gas is a

major factor in ERCOT wholesale and, ultimately, retail electricity prices.2


1
  In 2022, the City Council chose to spread the cost of a proposed PSA increase over three years, but did
allow Austin Energy to adjust the PSA on a monthly basis as needed.
https://austinenergy.com/about/news/news-releases/2022/city-council-adopts-austin-energy-pass-through-
rates-effective-nov-1.
2
  Mark Watson, “Harsh Weather, costly natural gas boost Texas Power Prices,” S & P Global Commodity
Inisghts, January 10, 2023, available at https://www.spglobal.com/commodityinsights/en/market-

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III.   Winter Storm Uri

       12.     Recent events like ERCOT’s severe failures during Winter Storm Uri in February

2021 have revealed how quickly prices in times of high demand and more limited electricity,

especially more limited gas supply, can quickly rise for consumers.

       13.     Winter Storm Uri was a major event that severely impacted the ERCOT grid,

leading to major blackouts throughout Texas and ultimately to hundreds of deaths. A severe

winter storm and accompanying cold weather caused both power plant failures and increased

demand, as Texas residents needed heat. As a result, ERCOT’s supply and demand system

failed: demand greatly exceeded supply, leading to severe electricity shortages and causing the

ERCOT grid to teeter on the brink of full collapse.

       14.     During Winter Storm Uri, the Texas power grid’s failures meant that millions of

Texans were without power for several days. Hundreds of Texans died due to lack of power

during the severe weather, including from freezing to death in their own homes and carbon

monoxide poisoning in desperate attempts to get warm. While the “official” death toll is above

200 deaths, other independent analysis has concluded that close to 1,000 Texans died either

directly or from complications resulting from the storm, including from loss of power.

       15.     Also during Winter Storm Uri, wholesale electricity prices increased hugely. With

electricity scarce, the PUCT allowed the market pricing to go to the System Wide Offer Cap,

which at the time was $9,000 per megawatt-hour (MWh). A decision to keep the cap at $9,000

for multiple hours led to billions of dollars of impact to the system. As a result, many retail

electric providers, municipally-owned utilities and electric cooperatives, as well as some

generators which had promised to provide energy and could not were left with huge bills owed to


insights/latest-news/natural-gas/011023-us-power-tracker-harsh-weather-costly-natural-gas-boost-texas-
power-prices.
                                                   5
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the market, while other entities actually earned revenues. Natural gas prices also rose

dramatically, impacting consumers large and small, while some gas suppliers literally made

hundreds of millions of dollars. After Uri, many of the electric and natural gas costs were

securitized through legislative action, meaning that some Texas consumers will be paying these

costs for decades.3

       16.     Under adverse conditions, such as Winter Storm Uri, wholesale market prices can

increase dramatically, up to several hundred times the normal cost of electricity. These cost

spikes impact customers and utilities alike. After Winter Storm Uri, for example, Brazos Electric

Cooperative, one of the largest rural electric providers in Texas, was forced into bankruptcy after

it faced massive charges for wholesale energy costs. Because Brazos Electric Cooperative is the

wholesale provider to 16 member cooperatives, the impact to ratepayers is still being worked out

through the courts. The largest electric cooperative — Pedernales Electric Cooperative — is

charging consumers a temporary Winter Storm Uri surcharge to pay off its approximately $160

million of storm-related debt. For the average PEC residential member, the surcharge amounts to

an increase of approximately $8.75 per month, based on an average 1,250 kilowatt hour of use.

This amount appeared as a line item on members’ monthly bills during the 24 month period

beginning October 1, 2021. Since everyone’s monthly electricity use is different, the surcharge

will vary from member to member. Similarly, numerous residential and small businesses faced

extraordinarily high operating costs from record-high wholesale electricity costs.4




3
  Sierra Club, The Failure of Fossil Fuels: Learning from Winter Storm Uri, February 2022. Available at
https://www.sierraclub.org/sites/default/files/The%20Failure%20of%20Fossil%20Fuels%20-
%20Winter%20Storm%20Uri%20Report%20-%20Feb%202022.pdf.
4
  Sierra Club, The Failure of Fossil Fuels: Learning from Winter Storm Uri, February 2022 at 11.
Available at https://www.sierraclub.org/sites/default/files/The%20Failure%20of%20Fossil%20Fuels%20-
%20Winter%20Storm%20Uri%20Report%20-%20Feb%202022.pdf.
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IV.    Increased Demand and Increased Prices in ERCOT

       17.     Electric peak demand in ERCOT has risen over the last several years. The peak

demand for electricity on the ERCOT grid was almost 12 gigawatts (or 12,000 megawatts)

higher in 2023 than it was in 2021. It had previously taken 15 years for demand to grow by 12

GW. In other words, electrical usage on the hottest day of the summer in Texas grew by as much

from 2021 to 2023 as it did from 2005 to 2021.5

       18.     Between 2018 and 2022, the state’s population grew by 5%, and in ERCOT, peak

load grew by 9%. In the hot summer of 2023, ERCOT set a series of new records, including a

new peak demand record of 85,435 MW on August 10, 2023. This peak demand was roughly

5,000 MW higher, or about 7% more, than the record just a year before. Similarly, December 23,

2022 set a new winter peak demand record of 74,525 MW. On January 16, 2024, during Winter

Storm Heather, a new winter peak was set of 78,138 MW.6

       19.     The pace of load growth in ERCOT has dramatically accelerated over the past

few years. In 2023, the peak demand was 85,508 MW. Only two years earlier, in 2021, peak

demand was 73,687 MW. Prior to 2021, it had taken 15 years for peak demand to increase by

12,000 MW–from a peak of 60,274 MW in 2005.7




5
  As an example, the peak August demand record in 2023 was set on August 10th, 2023 when some
85,508 MWs were used, topping the previous record of 78,505 MWs on August 2nd, 2022, while the
maximum September 2023 peak use was 84,343 MWs, more than 12,000 MWs higher than the previous
high set in September of 2021 (72,370 MWs set 09/01/2021). Information on peak demand records can be
found here: https://www.ercot.com/static-assets/data/news/Content/a-peak-demand/2023/all-time-
records.htm.
6
  ERCOT, Monthly Report Issued 2024, https://www.ercot.com/files/docs/2024/01/31/ERCOT-Monthly-
January-2024.pdf
7
  ERCOT, Yearly Peak Demand, available at https://www.ercot.com/static-assets/data/news/Content/a-
peak-demand/records-yearly-archive.htm.
                                                  7
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       20.    On September 6, 2023, ERCOT declared an emergency event because reserves

fell below 1,750 MW. Among other resources, ERCOT deployed non-controllable load resources

(NCLRs) providing Responsive Reserve Service and ERCOT Contingency Reserve Service.8

       21.    As expected, ERCOT costs increase during periods of high demand. Costs are

much higher during these times. As an example, according to data provided by ERCOT in a

recent ERCOT monthly report, both real-time and day-ahead settlement prices in August 2023

that were much higher than a year before. As an example, average wholesale day-ahead prices in

August 2023 were above $300 per MWh, while in August 2022 when demand was much lower,

prices averaged less than half—about $100 per MWh. While the differences between August

2022 and August 2023 were less pronounced, real time prices in August 2023 were over $200

per MWh, while real time prices in August 2022 averaged about $90 per MWh.9

       22.    Similarly, ERCOT procured more than $80 million in August of 2023 as peak

demands grew during that month. Just a few months later when demand was much lower,

ancillary services cost less than $17 million, again showing how high demand periods lead to

higher costs to ERCOT consumers.10

       23.    Prices on individual days were even more pronounced. On September 6, 2023,

when ERCOT issued an emergency alert, real-time power prices briefly hovered around the

(now) $5,000 maximum price in most of ERCOT's Texas hubs. This is in stark contrast to



8
  ERCOT, 2023 Annual Demand Response Report, January 2024, at 6, https://www.ercot.com/mp/data-
products/data-product-details?id=NP3-110.
9
  ERCOT, ERCOT Monthly Operational Overview (August 2023) Revised 11.17.23,
https://www.ercot.com/files/docs/2023/11/17/REVISED-ERCOT-Monthly-Operational-Overview-
August-2023.pdf; ERCOT, ERCOT Monthly Operational Overview (August 2022),
https://www.ercot.com/files/docs/2022/09/19/ERCOT%20Monthly%20Operational%20Overview%20Au
gust%202022.pdf.
10
   ERCOT Monthly, Issued January 2024,https://www.ercot.com/files/docs/2024/01/31/ERCOT-
Monthly-January-2024.pdf.
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average wholesale real-time prices in September of 2023, which averaged slightly more than

$100 dollars over the month.11

       24.     Frequent peak demands in recent years indicate the potential for continued high

prices and reliability concerns.

       25.     ERCOT has determined that 2,523 MW of large flexible load (a category that

includes cryptocurrency facilities) operated in ERCOT in 2022, and that that figure rose to 4,479

MW total–an addition of 1,956 MW–in 2023.12 Further, ERCOT projects the addition of 13,935

MW more of large flexible load by the end of 2024 and that the ERCOT grid by the end of 2027

will have a total 39,271 MW of large flexible load.13

       26.     Through my work and engagement with ERCOT, I am aware of the concerns that

cryptocurrency facilities raise for ERCOT planning. In August 2023, ERCOT identified large

loads (again, a category including cryptocurrency facilities) as a “[r]eliability risk,” stating,

“Large Loads have exhibited inconsistent behavior during Resource scarcity events.”14 ERCOT

explained, “If ERCOT plans for expected Large Load response and the Load does not respond, it

could drive the system into emergency conditions. If ERCOT plans for no response, it will

increase consumer costs unnecessarily when the Load does respond.”15




11
   ERCOT Monthly, Issued January 2024, https://www.ercot.com/files/docs/2024/01/31/ERCOT-
Monthly-January-2024.pdf
12
   ERCOT presentation, Large Load Interconnection Status (January 25, 2024) at 3,
https://www.ercot.com/files/docs/2024/02/06/LLI-Queue-Status-Update-2024-1-25.pdf.
13
   ERCOT presentation, Large Load Interconnection Status (January 25, 2024),
https://www.ercot.com/files/docs/2024/02/06/LLI-Queue-Status-Update-2024-1-25.pdf.
14
   ERCOT, NPRR1191 and Related Revision Requests Workshop, Overview of Large Load Revision
Requests for 8.16.23 Workshop (August 16, 2023) at 10, available at
https://www.ercot.com/calendar/08162023-NPRR1191-and-Related-Revision. This presentation is
attached to my declaration as an exhibit.
15
   Id.
                                                   9
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         27.   At the same time, ERCOT further explained that load forecasting issues for such

large loads pose a reliability risk, stating, “ERCOT cannot readily identify larger load facilities

and has limited visibility into their sensitivity to price and other forecasts.”16 ERCOT explained,

“ERCOT is seeing greater load forecast error on extreme or unusual operating days when an

accurate forecast is most critical.”17 ERCOT specifically noted, “ERCOT has limited visibility

into the location and consumption of all larger loads. . . . Increased visibility into industrial load

consumption would have also been useful during both Winter Storm Uri and Elliot, when larger

Load usage was a critical forecasting input.”18

         28.   Further, ERCOT stated in August 2023 that “[l]arge Load behavior can magnify

the severity of grid events, increasing the negative impact to reliability.”19 ERCOT observed,

“ERCOT has experienced multiple events in the last year where a significant amount of Large

Load unexpectedly disconnected from the grid.”20

         29.   In August 2023, ERCOT further identified large loads’ rapid changes in

consumption as a grid “reliability risk.”21 ERCOT explained, “Large Loads can change their

MW consumption rapidly enough to exhaust available Regulation service. . . . ERCOT

eventually will need to buy what may become an infeasible quantity of Regulation service to

maintain frequency stability. This could add significant costs to ratepayers.”22

         30.   Simply put, in a state with a peak demand of roughly 80,000 MWs in our main

grid in 2022, large flexible load–including bitcoin and cryptocurrency mining–is reported to have



16
   Id. at 7.
17
   Id.
18
   Id.
19
   Id. at 8.
20
   Id.
21
   Id. at 9.
22
   Id.
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